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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

T.R., a minor, individually, by and through her   :
parent, Barbara Galarza, and on behalf of all     :
others similarly situated,                        :
                                                  :
Barbara Galarza, individually, and on behalf      :
of all others similarly situated,                 :
                                                  :
A.G., a minor, individually, by and through his   :
parent, Margarita Peralta, and on behalf of all   :
others similarly situated,                        :
                                                  :
Margarita Peralta, individually, and on           :
behalf of all others similarly situated,          :
                                                  :
                             Plaintiffs,          :
                                                  :
       v.                                         :     Civil Action No. 15-04782-MSG
                                                  :
The School District of Philadelphia,              :
                                                  :
                             Defendant.           :

            DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT




                                             DILWORTH PAXSON LLP



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Dated: November 20, 2015
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I.     INTRODUCTION

       Plaintiffs’ lawsuit attempts to use an appeal from the special education administrative

proceedings of the two named minor Plaintiffs, T.R. and A.G (the “named Plaintiffs”), as a

Trojan Horse for seeking system-wide relief that goes above and beyond what the School District

of Philadelphia (the “School District” or “Defendant”) is legally required to do. Based upon the

individual experiences of the named Plaintiffs, who allege that the School District failed to

provide each of them with a “legally-mandated” Individualized Education Program (“IEP”)

process, Plaintiffs institute this class action seeking systemic relief based only on the conclusory

allegation that every other Limited English Proficiency (“LEP”) student in the School District is

similarly situated. However, no federal or state statute supports Plaintiffs’ claim that complete

translation of every IEP process document is required, and relevant Department of Justice

(“DOJ”) guidelines on translation requirements for LEP students and other covered individuals

makes clear that the need for translation must be determined on a case-by-case basis.

       The Court should dismiss Plaintiffs’ claims for systemic relief for at least two reasons.

First, the Court lacks subject matter jurisdiction over the Parent Class and Student Class

members (collectively, the “Class Members”) because they have failed to exhaust their

administrative remedies as required by the Individuals with Disabilities Education Act (“IDEA”).

See 20 U.S.C. § 1415(i)(2)(A). Plaintiffs attempt to circumvent the exhaustion requirement by

styling this matter as a class action seeking systemic relief, but fail to point to any structural

deficiency in a School District policy that violates the IDEA on a system-wide basis. Rather, the

determination as to whether each Class Member has a claim for relief under the IDEA involves a

substantive inquiry into the unique factual circumstances of each case. The School District and

special education hearing officers are in the best position to make such individualized



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determinations and to develop the factual record on a case-by-case basis. Because the Class

Members have failed to exhaust their administrative remedies, the Court should dismiss the

claims brought on their behalf pursuant to Rule 12(b)(1).

        Second, even if this Court does have jurisdiction, the Court should dismiss Plaintiffs’

systemic claims pursuant to Rule 12(b)(6) because they fail to allege facts that give rise to a

plausible systemic claim for relief under any of the asserted statutes. Plaintiffs’ conclusory

allegations that the School District systemically violates the IDEA and the other asserted statutes

and regulations are insufficient to allow the Court to draw an inference that Plaintiffs’ claims for

systemic relief are plausible. Plaintiffs’ allegations point to no School District policy that

violates any of the asserted statutes, but rather rests upon threadbare recitals of facts that do little

more than mirror the elements of each cause of action. Further, the relief that Plaintiffs request

is inappropriate as it asks this Court to engage in judicial lawmaking and create new substantive

requirements under the IDEA. Where there is already a detailed statutory framework in place

that describes the requirements of a comprehensive law such as the IDEA, the Court should not

engage in judicial legislation by implementing additional requirements.

        Finally, Plaintiffs fail to allege any plausible claims for relief under Section 504 of

Rehabilitation Act, the Americans with Disabilities Act as Amended, 22 Pa. Code Chapter 15,

the Equal Education Opportunity Act, Title VI of the Civil Rights Act of 1964, or 22 Pa. Code

Chapter 14. As explained in detail below, the Court should dismiss these claims in their entirety

pursuant to Rule 12(b)(6) because Plaintiffs fail to plead all the requisite claim elements and/or

provide any factual support that could permit this Court to draw a reasonable inference that any

of those claims are plausible.




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II.     FACTUAL BACKGROUND

        A.     The Due Process Hearings of the Named Plaintiffs

        This class action stems from two individual matters concerning disabled minors T.R. and

A.G. and their parents Barbara Galarza and Margarita Peralta, respectively. T.R. is a 17-year-old

tenth grade student who speaks a mixture of the English and Spanish languages and has been

diagnosed with the learning disability ADHD. Complaint at ¶ 16. Through a series of twenty-

three separate due process hearings, T.R. and her mother complained that the School District: 1)

did not provide her parent with meaningful participation in the IEP Process by failing to provide

appropriate translation services; 2) denied T.R. a free and appropriate public education

(“FAPE”); and 3) inappropriately evaluated T.R. as having a disability. Exh. A to Complaint at

2. While the hearing officer recognized that the School District provided numerous translation

services throughout the IEP Process in his “Findings of Fact” (see, e.g., ¶¶ 17, 21, 22, 24-26, 28,

31, 33, 37-38, 43, 46, and 48), he concluded that the School District did not fully comply with its

obligations under the IDEA in this particular instance. Id. at 9-12. The hearing officer then

ordered, among other things, that the School District reevaluate T.R.’s disability and awarded

T.R. compensatory education. Id. at 13-14.

        A.G. is an 18-year-old twelfth grade student whose native language is Spanish and is of

limited English proficiency. Complaint at ¶ 18. A.G. and his mother filed a due process

complaint on June 23, 2014. Id. at ¶ 74. A.G. engaged in a series of thirty due process hearings,

during which he alleged that the School District: 1) violated its Child Find responsibilities; 2)

denied meaningful parental participation; and 3) failed to provide an appropriate IEP or Section

504 Plan. Exh. B to Complaint at 1-2. Again, despite recognizing that the School District

provided substantial translation services in his “Findings of Fact” (see, e.g., ¶¶ 24, 25, 33, 37-40,

45, 48, 51, 53, 55, 62-63), the hearing officer concluded that under these particular circumstances

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the School District did not provide A.G.’s mother with meaningful parental participation. Exh. B

to Complaint at 11. The hearing officer awarded A.G. compensatory education. Id. at 14.

        The parents also raised with the hearing officer whether the School District: 1) has a

systemic practice of failing to timely evaluate disabled students; and 2) fails to fully inform

parents of their rights where the parent does not speak English. Exh. C to Complaint at 1-2.

Because the parents sought systemic relief, the hearing officer concluded that he did not have

“authority to make such findings” and dismissed the claims of systemic violations without

considering the plausibility of such claims. Id. at 7. On August 21, 2015, Plaintiffs filed this

action alleging systemic deficiencies under: 1) the IDEA (Counts One and Two); 2) Section 504

of Rehabilitation Act, the Americans with Disabilities Act as Amended, and 22 Pa. Code Chapter

15 (Counts Three and Seven); 3) the Equal Education Opportunity Act (Count Four); 4) Title VI

of the Civil Rights Act of 1964 (Count 5); and 5) 22 Pa. Code Chapter 14 (Count 6).

        B.     Plaintiffs’ Allegations of Systemic Violations

        In contrast to its factual allegations regarding the two specific situations of the named

Plaintiffs, the allegations supporting Plaintiffs’ claims for system-wide relief are sparse. In

general, Plaintiffs allege that the School District systemically denied the Class Members

meaningful participation in the IEP process, by not “timely and completely” translating IEP

process documents, evaluations, reevaluations, and by not providing sufficient oral interpretation

services. See Complaint at ¶¶ 1, 3, 4, 7, 43, 45, 46, 50, 55, 56, 61, 78, 80, 82, 86, 98, 103, 106,

107.    The Complaint includes virtually no specific facts supporting these systemic claims.

Indeed, other than the individual allegations of the named Plaintiffs (see, e.g., Complaint at ¶¶

62-77), the bulk of the Complaint consists of oft-repeated legal conclusions, such as the

accusations that the School District has not: 1) provided “legal mandated” translation services

(see, e.g., Complaint at ¶¶ 8, 13, 45, 78, 79); 2) provided Class Members with “meaningful

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participation” in the IEP process (see, e.g., Complaint at ¶¶ 1, 4, 5, 7, 8, 13, 23, 26, 27, 57, 58,

64, 67, 78, 79, 81, 98, 100, 103); 3) “timely provide[d] completely translated documents,”

including regular education forms (see, e.g., Complaint at ¶¶ 4, 5, 7, 13, 43, 45, 46, 48, 50, 55,

67, 73, 75, 80, 86, 91, 98, 99, 103, 106, 107, 110); or 4) taken “appropriate action” to overcome

language barriers (see, e.g., Complaint at ¶¶ 94, 95).

          After stripping the Complaint of its legal conclusions and the assertions regarding only

the named Plaintiffs, the remaining allegations regarding the School District’s alleged systemic

violations are almost entirely conclusory and do not permit an inference of any plausible claim

under the asserted statutes. Instead, they are merely general background facts, such as:1

                  The School District includes students that are LEP and have disabilities. See, e.g.,

                   Complaint at ¶¶ 1, 42, 51, 52.

                  During the 2012-2013 school year, the School District “only” orally interpreted

                   487 special education documents. Additional special education documents may

                   have been translated by an outside contractor, but the School District did not use

                   the contractor during the following school year. See Complaint at ¶¶ 53, 54.

                  The School District employs 54-55 Bilingual Counseling Assistants that provide

                   interpretation services but not translation services. See Complaint at ¶ 53.




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    Plaintiffs’ Complaint is interspersed with factual assertions – most of which are not clearly tied to any legal
    violation. See Anderson v. District Bd. of Trustees of Cent. Florida Cmty. College, 77 F.3d 364, 366 (11th Cir.
    1996) (“Anderson’s complaint is a perfect example of ‘shotgun’ pleading in that it is virtually impossible to know
    which allegations of fact are intended to support which claim(s) for relief.”); see also Amor v. Dodds, No. 09-cv-
    1340, 2009 WL 3720644, at *4 (M.D. Pa. Nov. 4, 2009) (“Given the convoluted nature of the factual allegations
    in the complaint, the incorporation by reference of all of those allegations into a count and an assertion that the
    defendants violated particular laws does not provide notice of what actions or inactions by the defendants the
    plaintiff is claiming violated those laws.”). Despite incorporating more than seventy-five Paragraphs of the
    Complaint by reference into each of their seven Counts, Plaintiffs still fail to assert any plausible claim for
    systemic relief.

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              The School District has a Translation and Interpretation Center which routinely

               translates documents but has never completely translated an IEP in its entirety and

               parents cannot request translation services. See Complaint at ¶ 54.

              The School District has provided some oral interpretation during IEP team

               meetings. See Complaint at ¶ 57.

              The School District does not utilize the TransAct. See Complaint at ¶ 61.

III.    STATUTORY FRAMEWORK

        The legal requirements related to special education services are set forth primarily in the

IDEA. The IDEA is meant “to ensure that all children with disabilities have available to them a

free appropriate public education that emphasizes special education and related services designed

to meet their unique needs . . . .” 20 U.S.C. § 1400(d)(1)(A). The statute governs the affirmative

duty of State and local educational agencies receiving federal financial assistance to provide a

FAPE to disabled students. CG v. Pa. Dep’t of Educ., 734 F.3d 229, 234 (3d Cir. 2013). As part

of this affirmative duty, “States must comply with detailed procedures for identifying,

evaluating, and making placements for students with disabilities, as well as procedures for

developing IEPs. They must also implement specified procedural safeguards to ensure children

with disabilities and their parents are provided with due process.” Batchelor v. Rose Tree Media

Sch. Dist., 759 F.3d 266, 271-72 (3d Cir. 2014).

        “Chapter 14 of the Pennsylvania Code incorporates and implements the substantive

provisions of the IDEA.” A.W. ex rel. H.W. v. Middletown Area Sch. Dist., No. 13-cv-2379,

2015 WL 390864, *10 (M.D. Pa. Jan. 28, 2015). Pennsylvania’s standards for educational

opportunities for handicapped students are incorporated into the IDEA and are enforceable in the

federal courts. See Geis v. Bd. of Educ. of Parsippany-Troy Hills, 774 F.2d 575, 581 (3d Cir.



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1985). The IDEA requires the translation of certain notice and procedural safeguard documents,

but gives school districts discretion to determine the extent that other IEP process documents

must be translated to ensure meaningful participation. See, e.g. 20 U.S.C. § 1415(c)(1)(A)-(B),

(E)-(F).

        The IDEA “establishes an elaborate procedural mechanism to protect the rights of”

special needs children, including “the right to a due process hearing before an administrative

official.” Komninos v. Upper Saddle River Bd. of Educ., 13 F.3d 775, 778 (3d Cir. 1994).

Parties aggrieved by the findings of the administrative hearing officer have the right to bring a

civil action in either state or federal court. 20 U.S.C. § 1415(i)(2)(A). However, “it is clear from

the language of the Act that Congress intended plaintiffs to complete the administrative process

before resorting to federal court.” J.T. ex rel. A.T. v. Dumont Pub. Sch., 533 F. App’x 44, 54 (3d

Cir. 2013) (quoting Komninos, 13 F.3d at 778)).

        Other statutes, such as the Americans with Disabilities Act of 1990 (“ADA”) and the

Rehabilitation Act of 1973 (“RA”), “embody the negative prohibition against depriving disabled

students of public education” and “provide a remedy for [disability] discrimination.” CG, 734

F.3d at 234 (citation omitted). In addition to violating the IDEA, failure to provide a FAPE

“generally violates the ADA and RA because it deprives disabled students of a benefit that non-

disabled students receive simply by attending school in the normal course—a free, appropriate

public education.” Id. at 235. “Pennsylvania has ‘implement[ed] the statutory and regulatory

requirements of [the RA]’ at the state level through the enactment of [22 Pa. Code Chapter 15].”

K.K. ex rel. L.K. v. Pittsburgh Pub. Sch., 590 F. App’x 148, 153 n.3 (3d Cir. 2014) (quoting 22

Pa. Code § 15.1(a)).     Importantly, however, Chapter 15 is not meant “to preempt, create,




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supplant, expand or restrict the . . . liabilities of . . . school entities beyond what is contemplated

by [federal law].” 22 Pa. Code § 15.11(c).

        Finally, like the ADA and RA, the Equal Education Opportunities Act of 1974 (“EEOA”)

and Title VI of the Civil Rights Act of 1964 (“Title VI”) prohibit discrimination. However,

unlike the ADA and RA, which prohibit disability discrimination, the EEOA and Title VI

prohibit discrimination on account of an individual’s race, color, or national origin. See 20

U.S.C. § 1703; 42 U.S.C. § 2000d. The DOJ guidelines for Title VI instruct that the question of

whether “to provide written translations of documents should be determined by the recipient on a

case-by-case basis,” after the consideration of four factors that ensure meaningful access of

federally-funded programs to LEP persons.          See Guidance to Federal Financial Assistance

Recipients Regarding Title VI Prohibition Against National Origin Discrimination Affecting

Limited English Proficient Persons, Fed. Reg. Vol. 67, No. 117 at 41463 (June 18, 2002)

(hereinafter “DOJ Guidance”).

IV.     ARGUMENT

        A.     Plaintiffs’ Systemic Claims Should be Dismissed Pursuant to Rule 12(b)(1).

               1.      Rule 12(b)(1) Standard

        To withstand a Rule 12(b)(1) challenge to subject matter jurisdiction, “[t]he plaintiff has

the burden of persuasion to convince the court it has jurisdiction.” Gould Elecs., Inc. v. United

States, 220 F.3d 169, 178 (3d Cir. 2000). Typically, for a district court to have subject matter

jurisdiction, parties asserting claims under IDEA must first exhaust their administrative

remedies. See 20 U.S.C. § 1415(i)(2)(A) (“Any party aggrieved by the findings and decision

made under subsection (f) or (k) who does not have the right to an appeal under subsection (g),

and any party aggrieved by the findings and decision made under this subsection, shall have the

right to bring a civil action”); 20 U.S.C. § 1415(l); see also Komninos, 13 F.3d 775 at 778

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(declaring that “it is clear from the language of [IDEA] that Congress intended plaintiffs to

complete the administrative process before resorting to federal court”).

        Courts have crafted four limited exceptions to IDEA’s exhaustion requirement: “(1)

where exhaustion would be futile or inadequate; (2) where the issue presented is purely a legal

question; (3) where the administrative agency cannot grant relief; and (4) when exhaustion

would work severe or irreparable harm upon a litigant.” P.V. ex rel. Valentin v. Sch. Dist. of

Philadelphia, No. 2:11-cv-04027, 2011 WL 5127850, at *6-7 (E.D. Pa. Oct. 31, 2011); see also

Beth V. v. Carroll, 87 F.3d 80, 88–89 (3d Cir. 1996). In some situations, plaintiffs need not

exhaust their administrative remedies if “they allege systemic legal deficiencies and,

correspondingly, request system-wide relief that cannot be provided (or even addressed) through

the administrative process.” Beth V., 87 F.3d at 89.

        The systemic exhaustion exception “flows implicitly from, or is in fact subsumed by, the

futility and no-administrative-relief exceptions.” Id. However, “framing a complaint as a class

action challenge to a general policy does not automatically convert the case into the kind of

systemic violation that renders the exhaustion requirement inadequate or futile.” J.T. ex rel.

A.T., 533 F. App’x at 54 (quoting Grieco v. New Jersey Dep’t of Educ., No. 06-cv-4077, 2007

WL 1876498, at *9 (D.N.J. June 27, 2007)); see also Ass’n for Cmty. Living in Colorado v.

Romer, 992 F.2d 1040, 1044 (10th Cir. 1993); Mrs. M v. Bridgeport Bd. of Educ., 96 F. Supp. 2d

124, 135 (D. Conn. 2000). Further, “[p]laintiffs cannot overcome the clear emphasis on the

claims of the individual students by including conclusory allegations of some systemic

deficiencies. . . . Allowing plaintiffs to bypass the administrative process by merely including

conclusory allegations of systemic deficiencies would permit the exception to the exhaustion




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requirement to swallow the rule.” Blunt v. Lower Merion Sch. Dist., 559 F. Supp.2d 548, 559

(E.D. Pa. 2008).

                2.       The Class Members have Failed to Exhaust their Administrative
                         Remedies Under the IDEA.

        Requiring all putative Class Members to exhaust their administrative remedies in this

case would “serve the underlying purposes of the IDEA’s administrative scheme and assist

federal courts by establishing a factual record reflecting agency experience.” Mrs. M, 96 F.

Supp. at 130.        An examination as to what documents must be translated (and what oral

interpretation services must be provided) in order to afford “meaningful parental participation” in

any given case would require the Court to undertake an evaluation of the particular

circumstances relevant to each affected Class Member.

        Indeed, for the individual matters of T.R. and A.G., the hearing officer was only able to

conclude that the School District did not provide meaningful parental participation after

considering detailed factual records that were developed after a series of twenty-three and thirty

due process hearings, respectively. Exh. A to Complaint at 1, “Findings of Fact” at 2-6; Ex. B to

Complaint at 1, “Findings of Fact” at 2-7. Despite ultimately concluding that the parents did not

receive meaningful participation in these two instances, the hearing officer noted the School

District’s substantial efforts at compliance:

                the District put people in place so that the Parent could engage in dialogue
                during the meetings (either through Language Line or by having a BCA in
                the room). Moreover, the District fully translated its evaluations, IEPs and
                NOREPs for the Parent. However, the IEP and NOREP from the June 17,
                2014 meeting ready in [mother’s native language], at the time of the
                meeting, and were often provide later only after parental request. . . . [The
                District] satisfied the IDEA’s narrow translation requirements but, even
                in doing so, did not satisfy the IDEA’s requirements for meaningful
                parental participation during the June 17, 2014 meeting.

Exh. A to Complaint at 9-10 (emphasis added).


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          The nuanced nature of “meaningful parental participation,” as well as the extensive scope

of the hearing officer’s factual inquiry, illustrate why courts have held that effective judicial

review “needs the administrative process” to explore fully the technical issues involved and to

“develop a complete factual record for each child.”2 Id. at 132. The issues raised in Plaintiffs’

Complaint “are classic examples of the kind of technical questions of educational policy best

resolved with the benefit of agency expertise and a fully developed administrative record.”

Greico, 2007 WL 1876498, *9. Without the benefit of a full administrative record, the Court

“cannot determine [ ] whether the thousands of children represented by the plaintiff class have

been denied a free appropriate public education.” Id. brackets in original).

          Plaintiff Class Members attempt to sidestep their administrative exhaustion requirements

under the IDEA by alleging systemic deficiencies.3 However, Plaintiffs fail to point to any

School District policy that violates the actual framework of the IDEA, such that the rights of the

Class Members would be affected adversely. See, e.g., Mrs. M, 96 F. Supp. 2d at 133 (“the

Court determines that the plaintiffs’ complaint in essence presents a challenge to the

identification decisions made by the [Bridgeport Board of Education] with respect to certain

children and not to the actual framework under which the identification decisions were made.”).

Rather, as in the Mrs. M case, Plaintiffs’ challenge is really “to the substantive determinations

reached by the [School District] concerning [the named Plaintiffs], not to the structure of the

system under which the identification was made.” Id. (emphasis in original).


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    Such approach also would promote judicial efficiency by giving the School District the opportunity to work
    directly with the individual Class Members to determine whether judicial – or even administrative – intervention
    is required in each particular case. Greico, 2007 WL 1876498, *9.
3
    Plaintiffs do not dispute that the named Plaintiffs have properly exhausted their administrative remedies and are
    entitled to appeal the specific relief awarded by the hearing officer. The Complaint, however, exclusively requests
    systemic relief and does not make clear what if any relief the named Plaintiffs are seeking individually.

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        The so-called systemic violations which Plaintiffs seek to remedy are exactly the “type of

claim which w[ere] intended by Congress to be addressed on a case-by-case basis, with the needs

of the particular child determined by the child’s parents and educators.” Id.; see also Heldman v.

Sobol, 962 F.2d 148, 150 (2d Cir. 1992). Still, Plaintiffs style this matter as a class action in an

effort to bring “one lawsuit despite the unique circumstances and needs of each child and without

first attempting to have the identification issues explored by each child’s parents, educators, and

[] hearing officers.” Id.; see also Grieco, 2007 WL 1876498 at *8 (“simply by styling a case as a

putative class action should not excuse compliance with the required exhaustion of

administrative procedures under the IDEA”) (quoting Mrs. M, 96 F. Supp. at 135). In Grieco,

the court found that “[a]n individualized fact-intensive inquiry with the benefit of agency

expertise and a fully developed administrative record as to each student is required to answer the

question whether each student’s IEP provides the appropriate accommodations in the least

restrictive environment.” Id. at 9.

        Similarly, this case requires a fact-intensive inquiry with the benefit of agency expertise

and a fully developed administrative record to answer the question of whether each Class

Member was adequately evaluated for LEP and/or was able to meaningfully participate in the

IEP process. See id. (“To permit plaintiffs to circumvent the exhaustion requirement by merely

alleging a systematic failure, without any logical mechanism to draw reasonable conclusions

about individual needs with respect to such a large category of students, would undermine the

IDEA and rationale for the exhaustion requirement.”). Plaintiffs’ request for systemic relief

disregards the individualized and fact-intensive nature of the IDEA. To assess whether the

School District is in compliance with the IDEA, it is necessary to inquire into the specific needs

of each particular Class Member and determine whether the agency responded appropriately



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under the circumstances. These inquiries must be explored through the administrative process

and to the extent required, individualized relief must be crafted. Therefore, because the Class

Members failed to exhaust their readily available administrative remedies (assuming for the sake

of argument that there even exist any aggrieved individuals other than the named Plaintiffs), the

Court should dismiss the IDEA claims brought on their behalf pursuant to Rule 12(b)(1).

        Plaintiffs’ claims brought under the RA, ADA, 22 Pa. Code Chapter 15, and 22 Pa. Code

Chapter 14 must also fail. When plaintiffs seek relief under federal laws protecting the rights of

children with disabilities that is also available under IDEA, those plaintiffs must first exhaust

their IDEA-created administrative remedies “to the same extent as would be required had the

action been brought under” IDEA. See 20 U.S.C. § 1415(l). “Thus, determining if the IDEA’s

administrative process must be exhausted before bringing claims in federal court turns on

whether the parties could have asserted the claims under the IDEA. Intertwined with this inquiry

is whether the claim could have been remedied by the IDEA’s administrative process.”

Batchelor, 759 F.3d at 272-73. Here, the relief sought in at least Counts Three, Six, and Seven is

also available under the IDEA, and therefore, these Counts should also be dismissed for lack of

jurisdiction pursuant to Rule 12(b)(1).

        B.     Plaintiffs’ Systemic Allegations should be Dismissed for Failure to State a
               Claim Pursuant to Rule 12(b)(6).

               1.      Legal Standard for Rule 12(b)(6) Motions

        A court should grant a Rule 12(b)(6) motion to dismiss where the complaint fails to state

a claim upon which relief can be granted. Fed.R.Civ.P. 12(b)(6). When ruling on a motion to

dismiss, a court must accept all factual allegations as true and draw all reasonable inferences in a

light most favorable to the plaintiff. Evancho v. Fisher, 423 F.3d 347, 351 (3d Cir. 2005). A




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well-pleaded complaint must contain more than mere labels and conclusions. See Ashcroft v.

Iqbal, 556 U.S. 662 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

        Courts conduct a two-part analysis to determine whether dismissal is appropriate. Fowler

v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). First, the factual and legal elements of a

claim are separated. Id. The court must accept all of the complaint’s well-pleaded facts as true,

but may disregard any legal conclusions. Id. at 210–11. Second, the court must determine

whether the facts alleged in the complaint are sufficient to show that plaintiffs have a “plausible

claim for relief.” Id. at 211; see also Iqbal, 556 U.S. at 679; Twombly, 550 U.S. at 570. Factual

allegations must be enough to raise a right to relief above the speculative level on the assumption

that all of the complaint’s allegations are true. Twombly, 550 U.S. at 545.

        The plausibility standard “asks for more than a sheer possibility that a defendant has

acted unlawfully.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 570). That a complaint

pleads facts that “are merely consistent with” a defendant’s liability, does not mean that it

plausibly states a claim for relief. Id. (citations omitted). Even more importantly, as discussed

below, the Plaintiffs’ repeated allegations regarding what translation or interpretation is “legally

mandated” is inconsistent with what the IDEA actually requires. Thus, for good reason, the

assumption of truth is inapplicable to legal conclusions or to “[t]hreadbare recitals of the

elements of a cause of action supported by mere conclusory statements.” Id.

               2.      Plaintiffs Fail to Allege Plausible Systemic Claims For Relief.

        After applying the Iqbal/Twombly standard, and separating Plaintiffs’ factual and legal

allegations, each of Plaintiffs’ seven Counts fails to state facts sufficient for a Court to infer a

plausible systemic claim for relief. Fowler, 578 F.3d at 210; see also Section II(B) above.

Plaintiffs’ systemic claims allege that the School District denied Class Members of meaningful

participation in the IEP process, including by not completely translating IEP process documents,

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evaluations, reevaluations, and by not providing oral interpretation services. These claims must

fail because Plaintiffs have not alleged facts that could plausibly support such broad, systemic

violations. For a claim to be “systemic,” courts hold that it must “implicate[] the integrity or

reliability of the IDEA dispute resolution procedures themselves, or require[] restructuring the

education system itself in order to comply with the dictates of the Act.” J.T. ex rel. A.T., 533

F.App’x at 54 (quoting Doe By & Through Brockhuis v. Arizona Dep’t of Educ., 111 F.3d 678,

682 (9th Cir. 1997)). On the other hand, a claim is not “systemic” if it “involves only a

substantive claim having to do with limited components of a program, and if the administrative

process is capable of correcting the problem.” Id.

           Conclusory allegations of systemic violations are insufficient to survive a motion to

dismiss. Blunt v. Lower Merion Sch. Dist., 559 F.Supp.2d 548, 559 (E.D. Pa. 2008); see also

J.D.G. v. Colonial School Dist., 748 F.Supp.2d 362 (D. Del. 2010) (finding allegations

insufficient “to meet the threshold pleading requirements as required by Iqbal and Twombly

sufficient to raise a systemic violation claim”). In Blunt, the district court ruled that “Plaintiffs

cannot overcome the clear emphasis on the claims of the individual students by including

conclusory allegations of some systemic deficiencies.”4 Id.

           Here, Plaintiffs fail to point to any actual School District policy that violates any of the

asserted statutes. See, e.g., Doe By & Through Brockhuis, 111 F.3d at 684 (“nothing suggest[ed]

that the Department’s neglect resulted from an agency decision, regulation, or other binding

policy”).       For example, Plaintiffs point to no School District policy that would prevent



4
    While Blunt addressed systemic allegations in the context of a 12(b)(1) motion based on a failure to exhaust
    administrative remedies, it is still instructive as to the plausibility of a claim for a systemic violation in the context
    of a motion to dismiss. See Canton Bd. of Educ. v. N.B., 343 F.Supp.2d 123, 127 (D. Conn. 2004) (“Although, the
    necessity of exhaustion in the cited cases is different than the present question, the courts examined the
    sufficiency of the claims of systemic violations and are thus instructive.”).


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meaningful participation or timely evaluations across the Parent and Student Classes such that it

would “implicate[] the integrity or reliability of the IDEA dispute resolution procedures

themselves, or require[] restructuring the education system itself in order to comply with the

dictates of the Act.” J.T. ex rel. A.T., 533 F.App’x at 54 (quoting Doe By & Through Brockhuis.,

111 F.3d at 682).

         Indeed, as shown in Section II(B) above, the vast majority of Plaintiffs’ Complaint

consists of legal conclusions and factual allegations that focus on the individual circumstances of

the two named Plaintiffs. See J.D.G., 748 F. Supp. 2d at 370 (“[T]he allegations are directed

towards the individual claim of J.G. Hence, they fail to rise to a level of systemic proportions.”).

Plaintiffs’ claims cannot properly be considered systemic, as they involve “only a substantive

claim having to do with limited components of a program, and [] the administrative process is

capable of correcting the problem.” J.T. ex rel. A.T., 533 F.App’x at 54. Plaintiffs’ threadbare

recital of the facts is not enough to raise Plaintiffs’ likelihood of any successful systemic claim

above a mere possibility, and thus, they should be dismissed pursuant to Rule 12(b)(6).

        Rather than identifying any affirmative policy adopted by the School District, the

Plaintiffs instead complain of the School District’s refusal to adopt policies advocated by

Plaintiffs. See, e.g., Complaint at ¶ 55 (“the District has adopted a policy in which it does not

timely and completely translate . . . IEP process documents . . . into the native languages spoken

and/or read by LEP students and their parents.”) However, Plaintiffs point to no authority that

requires complete translation of all IEP process documents for meaningful participation, and it

would make no sense for the Court to create such a rigid policy for the substantive and

individualized inquiry as to whether each particular Class Member has been afforded meaningful

participation in the IEP process.



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          During the administrative due process hearings, the hearing officer recognized that the

IDEA “requires schools to facilitate meaningful parental participation in the IEP development

process.”      Exh. A to Complaint at 9.              However, whether “parental participation” is only

“meaningful” when it includes the full translation of all IEP process documents, is a question of

fact particular to the specific abilities of the parents. For example, Plaintiffs’ request for the

mandatory translation of all documents makes no sense when a parent does not know how to

read, or otherwise is not necessary to ensure meaningful parental participation. Indeed, the

hearing officer recognized that “[u]nlike the strict translation rules, meaningful participation

requires inquiry into the Parent’s ability to participate in meetings without translation.”

Id. (emphasis added). This is why the hearing officer limited his findings to the particular

individuals involved: “In this case, it is not possible for the Parent to meaningfully participate . . .

unless the documents presented at that meeting are fully translated.”5 Id. (emphasis added).

          Consistently, the DOJ guidelines instruct that the question of whether “to provide written

translations of documents should be determined by the recipient on a case-by-case basis.”6 See

DOJ Guidance, Fed. Reg. Vol. 67, No. 117 at 41463. While designed to be “flexible and fact-

dependent,” to ensure meaningful access to LEP persons, “the starting point is an individualized

assessment that balances the following four factors: (1) The number or proportion of LEP

persons eligible to be served or likely to be encountered by the program or grantee; (2) the

frequency with which LEP individuals come in contact with the program; (3) the nature and




5
    District courts have discretion to determine how much deference to accord to the administrative proceeding. See
    Oberti v. Bd. of Educ., 995 F.2d 1204, 1219 (3d Cir. 1993); see also Kevin M. v. Bristol Twp. Sch. Dist., No. 00-
    cv-6030, 2002 WL 73233, at *4 (E.D. Pa. Jan. 16, 2002) (“While the Court must give ‘due weight’ to the
    administrative record, it has discretion to determine how much weight is due in a given case.”).
6
    The Court should afford deference to the DOJ’s guidelines. See, e.g., Christensen v. Harris Cnty., 529 U.S. 576,
    588 (2000) (“[A]n agency’s interpretation of its own regulation is entitled to deference.”).

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importance of the program, activity, or service provided by the program to people’s lives; and (4)

the resources available to the grantee/recipient and costs.” Id.

        For instance, the guidelines provide that non-vital information, which may be found, for

example, “when the document is very large,” need not be translated. Id. Likewise, a distinction

should be made “between languages that are frequently encountered by a recipient and less-

commonly encountered languages.” Id. As the DOJ noted, many recipients of federal funds

(such as the School District) “regularly serve LEP persons who speak dozens and sometimes

over 100 different languages” and “[t]o translate all written materials into all of those languages

is unrealistic.” Id.

        In short, Plaintiffs are essentially asking this Court to engage in judicial lawmaking by

rewriting the IDEA and other state and federal statutes to impose bright-line translation

obligations that are not legally required. However, “[t]he courts are in no position to exercise

control over schools and determine the policy of school administration.” Wilson v. Sch. Dist. Of

Philadelphia, 195 A. 90, 97 (Pa. 1937).        Rather, such issues “must be left to persons of

experience who have made a life study of it, and certainly is not to be subjected to the

consideration of jurists who have little or no training to appraise school systems or their

necessities.” Id. Because the asserted statutes and regulations provide the School District and

special education hearing officers with discretion to make such individualized determinations,

and Plaintiffs point to no legal requirement that the School District systemically violates, the

Court should dismiss Plaintiffs’ systemic claims for failure to state a claim.

        C.      Plaintiffs’ Purported Systemic Claims Fail to Allege Relief that is Permissible
                Under the Applicable Regulations.

        Similarly, Plaintiffs’ requests for sweeping changes to the IDEA and other statutory

framework is inappropriate relief for the Court to grant. Where, as here, there is already a


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detailed legislative system in place that describes the requirements of the law, the Court should

not impose additional requirements. See Rancocas Valley Reg’l High Sch. Bd. of Educ. v. M.R.,

380 F. Supp. 2d 490, 493-94 (D. N.J. 2005) (holding that “a United States District Court is an

inappropriate instrument to effect” an overhaul of the IDEA). For example, Plaintiffs request

that this Court Order that the School District:

              “[A]dopt and implement a new written special education plan and District policy

               to provide legally mandated translation and sufficient interpretation services to

               members of the Parent Class and the Student Class.” Request for Relief at ¶ 2.

              “[D]evelop a method and written protocol to proactively identify all LEP Parents

               who may need translation and interpretation services.” Request for Relief at ¶ 3.

              “[T]imely translate and deliver all IEP process documents . . . as needed in the

               appropriate native language in advance of IEP meetings to ensure meaningful

               participation.” Request for Relief at ¶ 4.

              “[N]otify all parents [in the parent’s native language] at the time of enrollment of

               their right to receive translated IEP process documents and interpretation services.

               . . .” Request for Relief at ¶ 5.

              “[P]rovide notice [that student’s entitled to an IDEA evaluation] . . . are entitled to

               certain documents in his or her native language…” Request for Relief at ¶ 6.

              Appoint Plaintiffs’ counsel to monitor compliance. Request for Relief at ¶ 8.

        Plaintiffs claim that such relief is “legally mandated” or necessary “to ensure meaningful

participation,” but cannot point to any statutory authority for this Court to enforce such claim.

As the hearing officer recognized, the IDEA requires the translation of only certain notice and

procedural safeguard documents. Exh. A to Complaint at 8. For other IEP documents, however,



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the IDEA provides the School District with the discretion to determine when translation is

necessary to ensure meaningful participation, based on the unique and individualized

circumstances of each case. Id.

         Plaintiffs proposed re-write of the IDEA would be incredibly burdensome for a School

District that already financially strapped. Such relief, if granted, would require the translation of

each and every IEP process document, even though not statutorily required. As Plaintiffs point

out, each IEP process involves a myriad of documents, such as: IEPs; NOREPs; Procedural

Safeguards Notices; IEP Team Meeting Invitations; Manifestation Determinations; Permission to

Evaluate; Permission to Re-Evaluate, Evaluation Reports and Re-Evaluation Reports;

Psychoeducational Reports; progress reports; and Medicaid Consent Forms. Complaint at ¶ 6.

This process can include multiple IEPs on an annual basis; countless revisions, evaluations and

reevaluations by school psychologists, speech therapists, occupational and physical therapists,

vision and hearing therapists.             Moreover, the requested relief would impose heightened

obligations on the School District of Philadelphia that do not apply to the countless other public

and charter schools in the region.7

         Plaintiffs’ Requests for Relief are plainly improper as they involve policy decisions

reserved for the legislature. See R.P.-K ex rel. C.K. v. Dep’t of Educ., Hawaii, No. 10-cv-436

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  Finally, imposing extra-statutory requirements on the School District could have an adverse impact on Philadelphia
students and their families. Philadelphia’s elementary and secondary environment is uniquely situated to offer a
diverse educational portfolio which includes over two-hundred public schools, private and parochial schools, and
cyber charter schools. Philadelphia is also home to over eighty (80) charter schools, each of which is a separate LEA
under IDEA. See Brief for Education Law Center – PA as Amicus Curiae at 9, 42, Sch. Dist. of Philadelphia v.
Dep't of Educ., 92 A.3d 746 (Pa. 2014) (No. 28 EAP 2013); Charlene R. v. Solomon Charter Sch., 63 F. Supp. 3d
510, 519 (E.D. Pa. 2014) (“Pennsylvania has encouraged the growth of charter schools, which are considered to be
public schools and LEAs under the IDEA.”). Parents in Philadelphia regularly choose between these various
options, selecting a school that will best meet the needs of their children and families at any given time. In addition,
many school-age students with disabilities are educated outside the City limits, though they and their families
remain in Philadelphia. This fluidity between schools can result in school-age children shifting enrollment from
LEAs in Philadelphia to elsewhere in the Commonwealth and vice versa. If the Court were to impose extra-
statutory requirements upon the School District, as Plaintiffs request, it would lead to an undesirable result, creating
confusion for students and their families by subjecting them to potentially different standards depending on whether
the student is being educated inside or outside the District’s public school portfolio.

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DAE, 2012 WL 1082250, at *8 (D. Haw. Mar. 30, 2012) (“this Court may not rewrite the law or

otherwise engage in an exercise of judicial legislation. . . . it is the role of Congress to legislate

and make policy decisions. Where, as in the case of the IDEA, Congress has given . . . some

discretion in implementing the law, the exercise of that discretion is reserved to the Governor

and the State Legislature.”); see also Morton Cmty. Unit Sch. Dist. No. 709 v. J.M., 986 F. Supp.

1112, 1124-25 (C.D. Ill. 1997), aff’d, 152 F.3d 583 (7th Cir. 1998) (“this Court cannot rewrite

the IDEA.”).      Because the system-wide judicial legislation requested by Plaintiffs is

inappropriate, this Court should dismiss the Complaint, which demands only systemic relief.

        D.     Plaintiffs Fail to State a Claim Under Section 504 of Rehabilitation Act,
               Americans with Disabilities Act as Amended, and 22 Pa. Code Chapter 15
               (Counts Three and Seven).

        Counts Three and Seven must also be dismissed because they contain only legal

conclusions without the factual support necessary for a plausible claim. In addition, Plaintiffs’

RA claim in Count Three must also fail because disability is not the “sole cause” of the alleged

discrimination.

        To state a plausible claim for relief under the ADA, a plaintiff must allege sufficient facts

that permit the Court to make the inference that the plaintiff: “(1) has a ‘disability,’ (2) is a

‘qualified individual,’ and (3) has suffered an adverse action because of that disability.” Turner

v. Hershey Chocolate U.S., 440 F.3d 604, 611 (3d Cir. 2006) (quoting Buskirk v. Apollo Metals,

307 F.3d 160, 166 (3d Cir. 2002) and Gaul v. Lucent Techs. Inc., 134 F.3d 576, 580 (3d Cir.

1998)). Under Section 504 of the RA, a plaintiff must allege facts that permit the inference: “(1)

he is ‘disabled’ as defined by the Act; (2) he is ‘otherwise qualified’ to participate in school

activities; (3) the school or the board of education receives federal financial assistance; and (4)

he was excluded from participation in, denied the benefits of, or subject to discrimination at, the



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school.”8 Andrew M. v. Delaware County Office of Mental Health and Mental Retardation, 490

F.3d 337, 350 (3d Cir. 2007) (quoting Ridgewood Board of Education v. N.E., 172 F.3d 238, 253

(3d Cir. 1997)).

          The only factual allegation under these statutes is that the School District allegedly failed

to translate regular education forms, including homebound forms and related information.

Complaint at ¶¶ 91, 110. Otherwise, the allegations are purely legal conclusions that merely

repeat the elements necessary to bring an ADA and/or RA claim.                          Plaintiffs’ threadbare

allegations are insufficient to state claim because they do not contain facts from which the Court

can infer a plausible cause of action under any of these statutes.

           Further, in CG v. Pa. Dep’t of Educ., the Third Circuit explained the difference between

the causation elements in the RA and the ADA. 734 F.3d 229, 235 (3d Cir. 2013). According to

the Court, “[t]he RA allows a plaintiff to recover if he or she were deprived of an opportunity to

participate in a program solely on the basis of disability, while the ADA covers discrimination on

the basis of disability, even if there is another cause as well.” Id. at 235-36 (emphasis added);

see also Lamberson v. Pa., 561 F. App’x 201, 207 (3d Cir. 2014) (“[A] disability must be the

‘sole cause’ of the alleged discrimination under the RA . . . .”). As the Third Circuit explained,

“[b]ecause the RA’s causation requirement requires disability to be the sole cause of

discrimination, an alternative cause is fatal to an RA claim because disability would no longer be

the sole cause.” Id. at 236 n.11. Because Plaintiffs’ claims do not allege discrimination based

solely on disability, but rather discrimination based on limited English proficiency, the RA claim

in Count Three must fail as a matter of law.




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    22 Pa. Code Chapter 15 is Pennsylvania’s implementation of Section 504 of the Rehabilitation Act. Plaintiffs
    bring claims under Chapter 15 in both Counts Three and Seven. Defendant addresses both Counts in this Section.

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        E.     Plaintiffs Fail to State a Claim for a Violation of the Equal Education
               Opportunity Act (Count Four).

        Plaintiffs’ EEOA claim additionally fails because the Complaint does not adequately

allege discrimination based on race, color, sex, or national origin. The EEOA provides, “[n]o

State shall deny equal educational opportunity to an individual on account of his or her race,

color, sex, or national origin, by—the failure by an educational agency to take appropriate action

to overcome language barriers that impede equal participation by its students in its instructional

programs.” 20 U.S.C. § 1703(f). “To state a plausible claim under the EEOA, Plaintiffs must

allege sufficient facts that: “show ‘(1) language barriers; (2) defendant’s failure to take

appropriate action to overcome these barriers; and (3) a resulting impediment to student[’s] equal

participation in instructional programs.’” K.A.B. ex rel. Susan B. v. Downington Area Sch. Dist.,

No. 11-cv-1158, 2013 WL 3742413, *11 (E.D. Pa. July 16, 2013); see also Deerfield Hutterian

Ass’n v. Ipswich Bd. of Ed., 468 F. Supp.1219, 1231 (D.S.D. 1979). Further, for the second

element of the cause of action, “[a]s the text of the statute dictates, the defendant’s failure to take

appropriate action must be ‘on account of . . . race, color, sex, or national origin.’” See id.

(granting judgment in favor of defendants on EEOA claim where plaintiffs failed to show that an

educational opportunity was denied them on account of race, color, sex or national origin).

        Here, Plaintiffs’ entire allegation is a legal conclusion based on a false premise.

Complaint at ¶ 95. Without citing to any legal authority, Plaintiffs allege that the School

District’s “failure” must have been based on the Student Class’s national origin simply because

their English proficiency is limited. However, as the Eastern District of Pennsylvania explained

in the K.A.B. ex rel. Susan B. case, “discrimination based on English proficiency is not the

same as discrimination based on national origin.” K.A.B. ex rel. Susan B., 2013 WL 3742413

at *12 (emphasis added); see also Mumid v. Abraham Lincoln High Sch., 618 F.3d 789, 795 (8th


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Cir. 2010). Plaintiffs, therefore, plead no facts upon which the Court can infer that the School

District’s alleged failure was on account of “race, color, sex, or national origin.” Id. Without

some additional factual allegation tying the School District’s alleged failure to the Student

Class’s national origin, Plaintiffs cannot state a plausible claim under the EEOA, and the Court

should dismiss Count Four pursuant to Rule 12(b)(6).

        F.     Plaintiffs Fail to State a Claim for a Violation of Title VI of the Civil Rights
               Act of 1964 (Count Five).

        Title VI provides that “[n]o person in the United States shall, on the ground of race,

color, or national origin, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial assistance.”

42 U.S.C. § 2000d. To state a plausible claim for relief under Title VI, a plaintiff must allege

facts that permit the Court to infer that the plaintiff: “(1) was a member of a protected class, (2)

qualified for the benefit or program at issue, (3) suffered an adverse action, and (4) the adverse

action occurred under circumstances giving rise to an inference of discrimination.” See Se. Pa.

Transp. Auth. v. Gilead Sciences, Inc., No. 14-cv-6978, 2015 WL 1963588, *8 (E.D. Pa. May 4,

2015) (citation omitted).

        Plaintiffs’ Title VI claim is not plausible because it fails to allege that the Plaintiffs are a

member of a protected class (race and/or national origin). See Abdullah v. Small Bus. Banking

Dep’t of Bank of Am., No. 13-cv-305, 2013 WL 1389755, *3 (E.D. Pa. Apr. 5, 2013), aff’d, 532

F. App’x 89 (3d Cir. 2013) (dismissing Title VI claim where the amended complaint failed to

identify a suspect class). Once again, the allegation that certain Plaintiffs are LEP is not enough

to show that they are part of a protected class. See Complaint at ¶ 102; see also K.A.B. ex rel.

Susan B., 2013 WL 3742413 at *10 (quoting Mumid v. Abraham Lincoln High Sch., 618 F.3d

789, 795 (8th Cir. 2010)) (“While Title VI prohibits discrimination on the basis of national


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origin, language and national origin are not interchangeable. A policy that treats students with

limited English proficiency differently than other students in the district does not facially

discriminate based on national origin.”).

        Finally, to the extent Plaintiffs are attempting to bring a cause of action based on

violations of regulations promulgated pursuant to Section 602 of Title VI (See Complaint at ¶

101), those claims must fail because Section 602 regulations “cannot be enforced through a

private cause of action.” Powell v. DeCarlo, No. 12-cv-762, 2012 WL 3104839, *3 (E.D. Pa.

July 31, 2012) (citation omitted); see also Alexander v. Sandoval, 532 U.S. 275, 293 (2001)

(“Neither as originally enacted nor as later amended does Title VI display an intent to create a

freestanding private right of action to enforce regulations promulgated under § 602. We therefore

hold that no such right of action exists.”). Therefore, the Court should dismiss Plaintiffs’ Title

VI claims pursuant to Rule 12(b)(6).

V.      CONCLUSION

        For the above stated reasons, Defendant respectfully requests the Court grant its Motion

to Dismiss.

                                              DILWORTH PAXSON LLP



                                              /s/ Marjorie M. Obod
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                                                  Patrick M. Northen, Esquire
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                                                  Counsel for Defendant

Dated: November 20, 2015




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                               CERTIFICATE OF SERVICE

       I, Marjorie M. Obod, Esquire, hereby certify that on the 20th day of November, 2015, I

caused a true and correct copy of the foregoing MOTION TO DISMISS PLAINTIFFS’

COMPLAINT to be filed electronically, made available for viewing and downloading from the

CM/ECF system, and to be served electronically via the CM/ECF system and/or via first class

mail, postage prepaid, upon the following:

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                                                /s/ Marjorie M. Obod
                                                Marjorie M. Obod
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

T.R., a minor, individually, by and through her   :
parent, Barbara Galarza, and on behalf of all     :
others similarly situated,                        :
                                                  :
Barbara Galarza, individually, and on behalf      :
of all others similarly situated,                 :
                                                  :
A.G., a minor, individually, by and through his   :
parent, Margarita Peralta, and on behalf of all   :
others similarly situated,                        :
                                                  :
Margarita Peralta, individually, and on           :
behalf of all others similarly situated,          :
                                                  :
                             Plaintiffs,          :
                                                  :
        v.                                        :   Civil Action No. 15-04782-MSG
                                                  :
The School District of Philadelphia,              :
                                                  :
                             Defendant.           :

                                       PROPOSED ORDER

        AND NOW, this ______ day of December 2015, it is hereby ORDERED that

Defendant’s Motion to Dismiss Plaintiffs’ Complaint is hereby GRANTED with prejudice.



                                                            BY THE COURT



                                                            Hon. Mitchell S. Goldberg




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